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Pelker, Catherine (CRM)

From:                Brown, Christopher (USADC)
Sent:                Monday, April 25, 2022 8:32 AM
To:                  Michael Hassard; Pelker, Catherine (CRM)
Cc:                  Tor Ekeland; Nicole Guitelman; Xuan Zhou
Subject:             RE: Meeting Follow-Up


Good morning,

IRS has sent the discovery drives via UPS: 1Z                    for Monday delivery.

The Bitlocker password for the 2 drives provided by the defense is: I          !

In order to accommodate the voluminous size of the discovery, IRS had to copy additional material onto a third drive.
    ‐ The drive is a keypad encrypted device. Once it's plugged in, the icons will flash as the drive connects, then the
        Lock icon in the Top Left will glow solid when the drive is ready. Enter the following code:         then press
        the Unlock Button. The volume should then mount as a drive letter and the data can be copied. To remove the
        drive, simply click the Lock button (bottom Left), wait a few seconds, then disconnect.
    ‐ Once you have copied the information from the third drive, we would request that you return the drive to the
        same address as before:

                IRS‐CI
                Attn:


                Richmond, VA 23219

Regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
National Cryptocurrency Enforcement Team
Office:               | Mobile:                   | Christopher.Brown6@usdoj.gov

From: Michael Hassard <Michael@torekeland.com>
Sent: Thursday, April 21, 2022 11:05 AM
To: Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>; Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Cc: Tor Ekeland <tor@torekeland.com>; Nicole Guitelman                       >; Xuan Zhou

Subject: [EXTERNAL] RE: Meeting Follow‐Up

Chris,

Thanks for organizing production. We appreciate it. We will be in touch regarding Roman’s decision.

Mike



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From: Brown, Christopher (USADC) <Christopher.Brown6@usdoj.gov>
Sent: Thursday, April 21, 2022 8:56 AM
To: Michael Hassard <Michael@torekeland.com>; Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Cc: Tor Ekeland <tor@torekeland.com>; Nicole Guitelman                          ; Xuan Zhou

Subject: RE: Meeting Follow‐Up

Thanks, Michael. We appreciate the effort both of you made to travel down to DC and were glad to finally meet you in
person. We will loop back with the agent team to make sure we can produce the blockchain analysis in .grf format as
well as images/CSV files for the underlying data. That and some additional discovery will be forthcoming. In addition, I
am assured that the hard drives for the electronic devices/phone will be in the mail for you by COB today.

Please let us know as soon as practicable whether Mr. Sterlingov is interested in speaking to us under the protection of a
debriefing letter.

Regards,
Chris

Christopher B. Brown
Assistant U.S. Attorney, U.S. Attorney’s Office for the District of Columbia
Office: 2             | Christopher.Brown6@usdoj.gov

From: Michael Hassard <Michael@torekeland.com>
Sent: Wednesday, April 20, 2022 10:48 AM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>; Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>
Cc: Tor Ekeland <tor@torekeland.com>; Nicole Guitelman                           >; Xuan Zhou

Subject: [EXTERNAL] Meeting Follow‐Up

Chris and Alden,

It was a pleasure meeting with you in DC yesterday. We discussed the file format preference with our experts. They
requested we get the Blockchain Analysis in all available file formats. Also, can you please provide an update on the
remaining Discovery, the hard‐drives, and the forensic analysis of Roman’s phone. We hope to receive that material as
soon as possible.

Michael Hassard
Associate Attorney
Tor Ekeland Law, PLLC
   & TorMark Law, LLP
30 Wall Street, 8th Floor
New York, NY 10005
p.

torekeland.com
tormarklaw.com




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